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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

CYBERWORLD ENTERPRISE

TECHNOLOGIES,

INC. d/b/a TEKSTROM, INC.,
Plaintiff,

Vv. : Civil Action No. 06-402-JJF

JANET NAPOLITANO, Secretary,
Department of Homeland
Security, Eric H. Holder, dJr.,
Attorney General; HILDA L.
SOLIS, Secretary, Department
of Labor; and Michael Aytes,
Acting Deputy Director,

United States Citizenship and
Immigration Services,
Defendants.
_ JUDGMENT IN A CIVIL CASE

For the reasons set forth in the Court’s Memorandum Opinion
and Order dated March 25, 2009;

‘IT IS ORDERED AND ADJUDGED that judgment be and is hereby
entered in favor of Defendants Janet Napolitano, Eric H. Holder,
Jr., Hilda L. Solis, and Michael Aytes, and against Plaintiff
Cyberworld Enterprise Technologies, Inc d/b/a Tekstrom, Inc.

Quo toe Sr

{JED STATES DISTRICT JUDGE

Dated: March 25, 2009

  
   

Deputy Cl@rk

 

(By)
